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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 LAW OFFICES OF PETER MILLER, P.A.,                   Case No.
 1601 South Broadway Little Rock, AR 72206
 Individually and on Behalf of All Others
 Similarly Situated,                                  CLASS ACTION COMPLAINT

                               Plaintiff,             JURY TRIAL DEMANDED

        v.


 SINCLAIR BROADCAST GROUP, INC.
 10706 Beaver Dam Road
 Hunt Valley, MD 21030
 Baltimore County;

 TRIBUNE MEDIA COMPANY
 515 North State Street
 Chicago, IL 60654;

 TRIBUNE BROADCASTING COMPANY,
 LLC
 435 N. Michigan Avenue
 Chicago, IL 60611;

 and DOES 1-20,

                               Defendants.


       Plaintiff Law Offices of Peter Miller, P.A., individually and on behalf of all others similarly

situated, brings this class action for injunctive relief and damages against Defendants Tribune

Media Company, Tribune Broadcasting Company, LLC, (collectively, “Tribune”) and Sinclair

Broadcast Group, Inc. (“Sinclair”) (together with Tribune, “Defendants”). Plaintiff alleges, based
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upon information and belief1 except as to the allegations pertaining specifically to Plaintiff that are

based on personal knowledge, as follows:

                                   NATURE OF THE ACTION

       1.      This antitrust class action arises from a conspiracy among Defendants and their co-

conspirators to fix prices for commercials to be aired on broadcast television stations throughout

the United States—in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1—by sharing

competitively sensitive information through their advertising sales teams. Defendants’ and their

co-conspirators’ unlawful collusion led to supracompetitive prices in the market for the sale of

television advertising.

       2.      Specifically, instead of competing with each other on price for advertising sales as

horizontal competitors typically would, Defendants and their co-conspirators shared proprietary

information and conspired to fix prices and stifle competition in the market.

       3.      Defendants have significant market penetration for advertising in the United States.

Sinclair is the largest owner of broadcast television stations in the United States, with 193 stations

in approximately 90 cities. Tribune owns 43 broadcast television stations in approximately 35

cities. Together, advertising on Defendants’ stations reaches over 80 percent of all homes in the

nation.2




1
         Plaintiff’s information and belief are based on an investigation (by and through counsel)
which included, among other things, a review and analysis of publicly available information, press
releases, news articles, and additional analysis. Counsel’s investigation is ongoing. Plaintiff
believes that substantial additional evidentiary support will exist for the allegations set forth herein
after a reasonable opportunity for discovery.
2
        Unless otherwise noted, all emphases herein are added and all internal citations are omitted.
                                                2
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       4.      Defendants and other broadcast television companies have experienced significant

slowing in revenue growth in recent years, due to, inter alia, increased competition for advertising

dollars from companies like Google and Facebook.

       5.      One response to this reduction in revenue growth has been to seek to achieve

economies of scale and expand respective customer bases via mergers with and acquisitions of

other broadcast television companies.

       6.      However, under the National TV Ownership rule adopted by the Federal

Communications Commission (“FCC”), Defendants and other broadcast television companies are

prohibited from individually owning a group of broadcast television stations that enables them to

reach more than 39 percent of all U.S. television households.3 Thus, Defendants and other

broadcast television companies have faced difficulty with sufficiently increasing revenues solely

via mergers and acquisitions.

       7.      In fact, Sinclair announced its intention to acquire Tribune over a year ago, but the

acquisition appears unlikely to occur due, at least in part, to concerns on the part of the FCC

regarding Sinclair’s ability to comply with the National TV Ownership rule.

       8.      Given this, Defendants and their co-conspirators have responded to decreased

advertising spending in another way—by colluding on pricing for television advertising, allowing

them to artificially inflate such pricing above competitive levels.

       9.      Defendants and their co-conspirators had numerous opportunities to conspire,

through industry associations such as the Television Bureau of Advertising, Inc. (“TVB”) and the




3
       FCC Broadcast Ownership Rules, FCC, https://www.fcc.gov/consumers/guides/fccs-
review-broadcast-ownership-rules (last updated Dec. 27, 2017).
                                                 3
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National Association of Broadcasters (“NAB”), conferences and meetings held by those

associations, and through merger negotiations.

       10.       The goal of Defendants’ scheme was to charge supracompetitive prices for

television advertising. Given the market share of each Defendant (approximately 40 percent),

neither Defendant could have accomplished this goal on its own without risking losing customers.

Nevertheless, in a market where Defendants jointly reach over 80 percent of U.S. households,

Defendants were able to collude to fix, raise, maintain, stabilize, or artificially inflate prices for

television advertising with no negative repercussions.

       11.       Defendants effectuated their scheme by having members of their advertising sales

teams share competitively sensitive information and data with each other, which they used to raise

advertising prices to levels higher than they otherwise would have been in the absence of

collusion.4

       12.       On July 26, 2018, The Wall Street Journal reported that the United States

Department of Justice (“DOJ”) was investigating Defendants and unnamed co-conspirators for

antitrust violations relating to price-fixing in the market for the sale of television advertising. The

reports indicated that the DOJ uncovered evidence of Defendants’ collusive behavior while

reviewing the implications of Sinclair’s nearly $4 billion proposed acquisition of Tribune.5

       13.       Several additional media outlets reported the DOJ was investigating whether

Defendants and their co-conspirators violated antitrust laws by coordinating “efforts when their ad


4
        See Drew FitzGerald and Keach Hagey, Justice Department Investigates TV Station
Owners Over Advertising Sales, THE WALL STREET JOURNAL (July 26, 2018),
https://www.wsj.com/articles/justice-department-investigates-tv-station-owners-over-
advertising-sales-1532633979?mod=searchresults&page=1&pos=1 (the “Wall Street Journal
Article”).
5
       See id.
                                                  4
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sales teams spoke with one another about performance—conversations that might have led to

higher ad rates for TV commercials . . . .”6

       14.      Plaintiff and members of the Class are direct purchasers of television advertising

from one or more Defendants or their co-conspirators within the United States. Specifically,

Plaintiff purchased television advertising from Sinclair.

       15.      From at least 2016 forward (the “Class Period”), Defendants’ conduct proximately

and foreseeably caused Plaintiff and members of the Class to suffer injuries by stifling competition

and inflating, fixing, raising, stabilizing, or maintaining prices for television advertising in the

United States, which were higher than prices that would have been established in a competitive

market.

       16.      The impact of Defendants’ unlawful and anticompetitive conduct is ongoing and

continues to this day, and requires injunctive relief to prevent future harm to Plaintiff and members

of the Class.

       17.      Until the publication of reports regarding the DOJ investigation on July 26, 2018,

Defendants fraudulently concealed their unlawful conduct from Plaintiff and members of the

Class, and Plaintiff and members of the Class had no way of knowing the advertising rates they

were paying were the result of unlawful collusion.

       18.      Plaintiff and members of the Class seek injunctive relief and damages for their

injuries caused by Defendants’ collusive, manipulative, and anticompetitive restraint of

competition in the market for television advertising in the United States. Specifically, Plaintiff

seeks injunctive relief, treble damages, costs of suit, and reasonable attorneys’ fees on behalf of


6
        Dawn C. Chmielewski, Justice Department Investigating Local TV Station Owners Over
Ad Sales – Report, DEADLINE (July 26, 2018), https://deadline.com/2018/07/justice-department-
investigating-local-tv-station-owners-ad-sales-report-1202434431/ (the “Deadline Article”).
                                                 5
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itself and the Class of direct purchasers, as defined herein, pursuant to Section 1 of the Sherman

Antitrust Act, 15 U.S.C. § 1.

                                 JURISDICTION AND VENUE

        19.    The Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337(a), and Section

16 of the Clayton Act, 15 U.S.C. § 26, to award equitable and injunctive relief for violations of

Section 1 of the Sherman Act, 15 U.S.C. § 1. The Court also has jurisdiction pursuant to 28 U.S.C.

§§ 1331 and 1337(a) to award damages for violations of Section 1 of the Sherman Act, 15 U.S.C.

§ 1.

        20.    Venue is proper in this District pursuant to Sections 4(a) and 12 of the Clayton Act,

15 U.S.C. §§ 15(a) and 22, and 28 U.S.C. § 1391(b), (c), and (d) because Defendants are believed

to have resided, transacted business, were found, or had agents in the District, a substantial part of

the events giving rise to the claims occurred within this District, and a substantial portion of the

affected interstate trade and commerce discussed herein has been carried out in this District.

Additionally, Defendant Sinclair is headquartered in this District, in Hunt Valley, Maryland.

        21.    This Court has personal jurisdiction over each Defendant because each Defendant

is believed to have transacted business throughout the United States, including in this District; had

substantial contacts with the United States, including in this District; and/or committed overt acts

in furtherance of their illegal scheme and conspiracy in the United States, including in this District.

In addition, Defendants’ conspiracy was directed at, and had the intended effect of causing injury

to persons residing in, located in, or doing business in the United States, including in this District,

and Plaintiff’s claims arise out of Defendants’ conduct.

        22.    Defendants’ activities were within the flow of, were intended to, and did have a

substantial effect on the interstate commerce of the United States.


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                                          THE PARTIES

Plaintiff

       23.     Plaintiff Law Offices of Peter Miller, P.A., is a law firm located in Little Rock,

Arkansas and is a direct purchaser of television advertising from Sinclair. Plaintiff has purchased

television advertising from Sinclair throughout the Class Period. As a result of Defendants’ and

their co-conspirators’ collusive and anticompetitive conduct, Plaintiff has paid artificially inflated

prices for television advertising and has been injured in its business or property.

Defendants

       24.     Defendant Sinclair Broadcast Group, Inc., a Maryland corporation headquartered

in Hunt Valley, Maryland, is a diversified television broadcasting company.

       25.     Defendant Tribune Media Company, a Delaware corporation headquartered in

Chicago, Illinois, is a diversified media and entertainment business.

       26.     Defendant Tribune Broadcasting Company, LLC, a Delaware limited liability

company headquartered in Chicago, Illinois, is a television broadcasting company that operates as

a subsidiary of Tribune Media Company.

       27.     Plaintiff alleges on information and belief that Does 1-20, inclusive, were co-

conspirators with Defendants in the violations alleged in this Complaint and performed acts and

made statements in furtherance thereof. Does 1-20 are other television broadcast companies and

their predecessors, successors, subsidiaries, corporate officers, members of the boards of directors,

or senior officials, or predecessors, successors, subsidiaries, corporate officers, members of the

boards of directors, or senior officials of Defendants. Plaintiff is presently unaware of the true

names and identities of those defendants sued herein as Does 1-20. Plaintiff will amend this

Complaint to allege the true names of the Doe defendants when it is able to ascertain them.


                                                  7
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Co-Conspirators and Agents

          28.   Various persons and/or firms not named as defendants herein have participated as

co-conspirators in the violations alleged herein and have performed acts and made statements in

furtherance thereof. Defendants are jointly and severally liable for the acts of their co-conspirators

whether named or not named as defendants in this Complaint.

          29.   Each Defendant and their respective subsidiaries acted as the principal of or agent

for the other Defendants with respect to the acts, violations, and common course of conduct alleged

herein.

                                  FACTUAL ALLEGATIONS

I.        Changing Trends in the Television Broadcasting Industry

          30.   In recent years, television broadcasting companies have experienced significant

slowing of growth in their advertising revenues.7

          31.   Facing increased competition from internet and other advertising, the following

chart depicts the slowing growth of television advertising spending in the United States since 2012.

Notably, the chart depicts a trend of decreased advertising spending beginning in 2016 and predicts

that such spending will continue to decrease over the next few years:8




7
      See Gavin Mann, Francesco Venturini, and Ekta Malhotra, The Future of Broadcasting V,
ACCENTURE (2016), https://www.accenture.com/t20170411T172611Z__w__/us-en/_acnmedia/
Accenture/next-gen/pulse-of-media/pdf/Accenture_Future_of_Broadcast_V_POV.pdf.
8
        TV advertising spending in the United States from 2011 to 2020 (in billion U.S. dollars),
STATISTA, https://www.statista.com/statistics/272404/tv-advertising-spending-in-the-us/ (last
visited July 27, 2018).
                                                  8
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       32.     As shown above, TV advertising spending stalled in 2016 and began to decline

thereafter. In response to reduced spending, Defendants conspired to artificially inflate advertising

prices in order to stabilize and grow revenues.

       33.     Indeed, despite decreased television advertising spending, Sinclair and Tribune

have grown or substantially maintained revenue to above 2015 levels since 2016, as shown below:




                                                  9
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       34.    Defendants also increased net income during 2016 and 2017. Tribune generated a

loss of $319,918,000 for fiscal year 2015, but generated net income of $14,246,000, and

$194,119,000 for 2016 and 2017, respectively.9 Sinclair’s net income results for 2015, 2016, and

2017 were $171,524,000, $245,301,000, and $576,013,000, respectively.10

       35.    Also in response to decreased ad spending, television broadcasting companies have

been forced to attempt to grow their customer bases through mergers and acquisitions to achieve

economies of scale to remain profitable, thereby increasing market concentration.11




9
       Tribune Media Co., Annual Report (Form 10-K) (Mar. 1, 2018).
10
       Sinclair Broad. Grp. Inc., Annual Report (Form 10-K) (Mar. 1, 2018).
11
       See Mann et al., supra note 7.
                                               10
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       36.     Defendants are no strangers to this phenomenon, as they began discussing a

potential merger years ago and publicly announced their plans in May 2017.12 The maps below

depict the number of broadcast television stations Sinclair would own before and after the

acquisition under the original plan submitted to regulators, and the vast number of U.S. television

households Sinclair and Tribune would jointly reach (nearly three quarters of American homes in

the original merger plan).13




       37.     Wary of FCC rejection of the deal, Defendants submitted a revised version of the

merger plan to antitrust regulators, whereby Sinclair would acquire Tribune for $3.9 billion,

forming a company that would own 215 broadcast television stations in 102 cities, reaching close

to 60 percent of all U.S. television households.14




12
       See Mike Snider, $4 billion TV deal creates nation’s largest broadcaster, USA TODAY
(May       7,  2017),     https://www.usatoday.com/story/money/business/2017/05/07/sinclair-
broadcasting-buy-tribune-media-4-billion-deal-reports-say/101409222/ (the “USA TODAY
Article”).
13
        Alvin Chang, Sinclair’s takeover of local news, in one striking map, VOX (Apr. 6, 2018),
https://www.vox.com/2018/4/6/17202824/sinclair-tribune-map.
14
       See Ted Johnson, What’s Next for the Other Big Merger: Sinclair-Tribune, VARIETY (June
25, 2018), https://variety.com/2018/politics/news/sinclair-tribune-merger-fcc-2-1202855551/.
                                                 11
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       38.     Defendants jointly have extreme market penetration, with Tribune currently

reaching 43% of the nation’s households and Sinclair reaching 38% of American homes.15

       39.     Indeed, analysts called the proposed merger between Sinclair and Tribune, “a very

transformative acquisition” that would create “a broadcaster with as close to a national footprint

as you can get.”16 Sinclair’s CEO, Chris Ripley, echoed this belief, stating the combined company

would reach “72% of U.S. homes across 108 markets including 39 of the top 50” and “[t]his

combination creates the largest TV broadcasting company in the country.”17

       40.     The revised merger plan could only be accomplished by selling certain television

stations to reduce the number of households jointly reached by Tribune and Sinclair (which

currently is over 80 percent). However, Sinclair’s revised plan called for selling certain stations

to friends and other parties with whom it has a business relationship, for significantly less than fair

value, raising questions about whether Sinclair would actually continue to control these stations.18

       41.     Sinclair is not the only television broadcasting company to seek economies of scale

by expanding customer bases through acquiring additional television stations. Indeed, the market

for the sale of television advertising is highly concentrated.

       42.     As Defendants have learned, however, the FCC’s National TV Ownership rule,

which prohibits a single television broadcasting company from owning a collection of stations




15
       See USA TODAY Article.
16
       Id.
17
       Id.
18
        See Hamza Shaban, Why Sinclair’s latest plan to sell major TV stations has critics crying
foul, THE WASHINGTON POST (Mar. 14, 2018), https://www.washingtonpost.com/news/the-
switch/wp/2018/03/14/why-sinclairs-latest-plan-to-sell-major-tv-stations-has-critics-crying-
foul/?utm_term=.b4dab9adc46b (the “Washington Post Article”).
                                                  12
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such that it reaches more than 39 percent of all U.S. television households, makes mergers and

acquisitions on the scale necessary to achieve improved profitability very difficult.19

       43.     Indeed, the FCC recently stated that it has “serious concerns” and “material

questions”20 about the merger between Sinclair and Tribune, and referred the matter to an

administrative law judge for review, which typically sounds the “death knell” for mergers.21

       44.     Specifically, the FCC is concerned that Sinclair did not intend to actually relinquish

control over television stations that it proposed to divest in order to comply with the National TV

Ownership rule, and that Sinclair was less than candid with the FCC.22 Indeed, the FCC suspected

certain “‘sidecar agreements’ [ ] would allow Sinclair to retain control of stations without owning

them.”23 According to FCC Commissioner Michael O’Rielly, the vote to send the merger to an

administrative law judge is a “‘de facto merger death sentence.’”24

       45.     Yet, even without an approved merger, Defendants’ conspiracy allowed them to

jointly control advertisers’ ability to reach more than 80 percent of U.S. households and to use this

control to stifle competition. From at least 2016 forward, Defendants used their combined reach




19
       Id.
20
       Deadline Article.
21
       John Eggerton, Report: DOJ Looking at TV Ad Sales, BROADCASTING & CABLE (July 26,
2018), https://www.broadcastingcable.com/news/report-doj-looking-at-tv-ad-sales.
22
        See Tony Romm and Brian Fung, Trump criticizes FCC for moving to block Sinclair-
Tribune        merger,      THE      WASHINGTON         POST       (July       25,      2018),
https://www.washingtonpost.com/technology/2018/07/25/trump-criticizes-fcc-moving-block-
sinclair-tribune-merger/?utm_term=.631f332ce201; David Zurawik, Trump calls FCC action
against Sinclair ‘sad, unfair, disgraceful,’ THE BALTIMORE SUN (July 24, 2018),
http://www.baltimoresun.com/entertainment/tv/z-on-tv-blog/bs-fe-zontv-sinclair-trump-fcc-
20180724-story.html.
23
       See Deadline Article.
24
       Id.
                                                 13
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to conspire to charge supracompetitive prices for television advertising in violation of federal

antitrust laws.

II.     Defendants and Their Co-Conspirators Colluded to Fix Television Advertising
        Prices

        46.       Faced with the reality that they would not be able to maintain and increase their

profits through mergers and acquisitions alone and staring down increasing competition for

advertising dollars from digital platforms like Facebook and Google, which remain crucial to

broadcast television owners’ financial success, Defendants and their co-conspirators sought to

increase profits by raising television advertising prices through price-fixing.25

        47.       In furtherance of this conspiracy, advertising sales representatives of the

Defendants and their co-conspirators shared competitively sensitive information and data that

allowed the companies to fix, raise, maintain, stabilize, and/or artificially inflate pricing for

television advertising.26

        48.       Defendants and their co-conspirators not only had the motive to collude on

television advertising prices, as described above, but they also had numerous opportunities to

conspire to achieve their combined goal—charging artificially inflated prices for television

advertising without the risk of losing customers.

        49.       Defendants and their executives participate in numerous industry associations that

provide the opportunity to share competitively sensitive information and conspire to effectuate

their scheme.




25
        See Wall Street Journal Article.
26
        See id.
                                                  14
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       50.       For example, the TVB is a “not-for-profit trade association representing America’s

$21 billion local broadcast television industry.” TVB is designed to bring together and encourage

information sharing among employees of broadcast television companies like Defendants,

especially advertising sales representatives. TVB is especially dedicated to helping broadcast

television companies promote and improve their advertising sales efforts.27

       51.       Sinclair and Tribune, among other media companies, are members of TVB. TVB

events and initiatives provided Defendants with the opportunity to collude and to act in furtherance

of their conspiracy.

       52.       To this end, on November 20, 2017, a group of broadcast television companies,

including Sinclair and Tribune, announced the launch of the TV Interface Practices or “TIP”

Initiative, described as “an industry work group dedicated to developing standard-based interfaces

to accelerate electronic advertising transactions for local TV broadcasters and their media agency

partners.”28

       53.       Sinclair and Tribune, among others, had been working together to launch this

initiative since early 2017, which provided them additional opportunity to share competitively

sensitive information related to advertising sales and pricing.29

       54.       Sinclair’s President and CEO, Chris Ripley, was quoted as stating that Sinclair and

the other broadcast television companies, including Tribune, had a “shared commitment to




27
       See About TVB, https://www.tvb.org/AboutTVB.aspx (last visited July 27, 2018).
28
        Local Television Broadcasters’ TIP (TV Interface Practices) Initiative to Accelerate
Electronic Workflow for TV Advertising Transactions, BUSINESS WIRE (Nov. 20, 2017),
https://www.businesswire.com/news/home/20171120005141/en/Local-Television-
Broadcasters%E2%80%99-TIP-TV-Interface-Practices.
29
       See id.
                                                 15
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working together” to promote and grow their advertising sales and corresponding revenues and

profits.30

        55.       Similarly, Tribune’s President and CEO, Larry Wert, stated that the broadcast

television companies, including Sinclair and Tribune, were “actively working together” to

promote “the continued growth of our respective businesses.”31

        56.       In other words, Sinclair, Tribune, and their co-conspirators openly worked together

to develop information systems that would provide standardized data and forms that could be used

to sell television advertising to potential advertisers and, in the process, shared information with

each other, which was used to engage in unlawful price-fixing.

        57.       Sinclair, Tribune, and other broadcast television companies are also members of

the NAB, which describes itself as the “premier trade association for broadcasters.”32 Sinclair’s

CEO, Chris Ripley, and Tribune’s COO, Kathy Clements, both serve on the NAB Television

Board of Directors.33       Representatives of Sinclair, Tribune, and other broadcast television

companies also serve together on the NAB Television Technology Committee.34 NAB hosts

numerous meetings and other events for industry members throughout the year, which are attended

by Defendants’ executives.




30
        See id.
31
        See id.
32
        About Us, https://www.nab.org/about/default.asp (last visited July 27, 2018).
33
       See NAB Board of Directors, https://www.nab.org/about/nabBoard.asp (last visited July
27, 2018).
34
        See                  2018                  NAB                         Committees,
https://www.nab.org/documents/about/2018NABCommittees.pdf (last visited July 27, 2018).
                                                  16
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         58.      Sinclair’s attempt to acquire Tribune, which has been ongoing for years (and was

publicly announced in May 2017), provided an additional opportunity for the companies to collude

to artificially inflate prices for television advertising.

III.     The Television Advertising Market Was Ripe for Collusion

         59.      The market for television advertising was particularly susceptible to collusion

during the Class Period because: (1) there are a limited number of television station owners selling

television advertising; (2) the barriers to entry are extremely high; (3) the products are

homogenous; (4) Defendants and their co-conspirators have a common motive to conspire—a

desire to maintain and increase their profits; and (5) Defendants had ample opportunities to

conspire with each other through industry associations and initiatives such as NAB, TVB and the

TIP Initiative.

         60.      Defendants colluded with each other by sharing competitively sensitive

information regarding advertising sales and pricing to artificially inflate prices for television

advertising. Defendants engaged in the anticompetitive conduct described herein in order to

charge supracompetitive prices without the risk of losing customers.

         61.      In a conspiracy that increases the price for consumers, market forces would

typically attract new entrants seeking to exploit the pricing gap created by that conspiracy’s supra-

competitive pricing. But where, as here, there are high barriers to entry for an industry, new

broadcast television companies outside the conspiracy are less likely to enter the market.

         62.      In the broadcast television industry, there are high barriers to entry due to high

capital costs and a high degree of technical sophistication and relative scarcity of people with

experience in those areas. As discussed above, television broadcasting companies have discovered




                                                    17
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that they can only survive and thrive by growing ever larger, making it almost impossible for a

new entrant to the market to effectively compete with Defendants.

IV.     The DOJ Launches a Probe into Defendants’ Collusion in the Television Advertising
        Market

        63.       As reported by The Wall Street Journal on July 26, 2018, the DOJ has launched an

investigation into Defendants’ and their co-conspirators’ collusion in the market for the sale of

television advertising in the United States.35

        64.       While conducting a review of the nearly $4 billion acquisition proposed by Sinclair

and Tribune, the government discovered information that led it to investigate Defendants’

conspiracy to artificially inflate advertising prices.36 Specifically, the DOJ is investigating whether

Defendants “coordinated efforts when their ad sales teams communicated with each other about

their performance” in order to artificially inflate television advertising prices in violation of federal

antitrust laws.37

        65.       The Deputy Assistant Attorney General for Civil Antitrust, Barry Nigro, recently

acknowledged that antitrust investigations often arise during the course of merger reviews.38 Mr.

Nigro further noted that potential antitrust violations sometimes come to the DOJ’s attention

through document analyses performed in connection with such reviews.39




35
        See Wall Street Journal Article.
36
        Id.
37
        Id.
38
        See Leah Nylen, Number of no-poach agreements uncovered by DOJ ‘shocking,’ official
says, MLEX MARKET INSIGHT (May 17, 2018), https://mlexmarketinsight.com/insights-
center/editors-picks/antitrust/north-america/number-of-no-poach-agreements-uncovered-by-doj-
shocking,-official-says.
39
        See id.
                                                   18
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       66.     Indeed, when conducting a merger investigation pursuant to the Hart-Scott-Rodino

Antitrust Improvements Act, the DOJ or the Federal Trade Commission (“FTC”) may issue “broad

‘second requests’ for documents and data” that “may reveal antitrust problems separate from the

reported merger.”40 This is the case here.41

                                  THE RELEVANT MARKET

       67.     Plaintiff disclaims the need to plead a relevant market for its antitrust claims

because the price-fixing conspiracy alleged herein is a per se violation of the Sherman Act, 15

U.S.C. § 1. The restraint of trade and anticompetitive conduct alleged herein directly inflated or

maintained prices and restrained competition in the market for the sale of television advertising in

the United States, constituting a per se violation of the Sherman Act, 15 U.S.C. § 1.

       68.     In the alternative, Defendants’ collusion is an unreasonable restraint of trade, which

resulted in substantial anticompetitive effects in the market for the sale of television advertising in

the United States in violation of the Sherman Act, 15 U.S.C. § 1 under a “quick look” or “rule of

reason” mode of analysis.

       69.     The relevant product and geographic market for purposes of this complaint is the

market for the sale of television advertising in the United States.

                                      ANTITRUST INJURY

       70.     Plaintiff and members of the Class are direct purchasers of television advertising

from one or more Defendants or their co-conspirators in the United States.




40
        See DoJ Employee “No-Poach” Antitrust Consent Decree Sharpens Compliance Teeth,
JDSUPRA (April 30, 2018), https://www.jdsupra.com/legalnews/doj-employee-no-poach-
antitrust-consent-38009/.
41
       See Wall Street Journal Article.
                                                  19
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       71.     Sinclair and Tribune are horizontal competitors in the market for the sale of

television advertising in the United States. Together, the media companies reach more than 80%

of households in the United States.

       72.     Defendants and their co-conspirators participated as co-conspirators and performed

acts in furtherance of the conspiracy alleged herein.

       73.     Defendants intended to restrain trade, and actually restrained trade in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1, by engaging in artificial manipulation of the U.S.

market for the sale of television advertising—including price-fixing—and their conduct injured

competition and Plaintiff and members of the Class.

       74.     Defendants and their co-conspirators shared a conscious commitment to the

common scheme designed to achieve the unlawful objective of inflating, fixing, stabilizing, and/or

maintaining advertising rates.

       75.     Rather than competing on price as horizontal competitors typically would,

Defendants colluded to artificially inflate, stabilize, fix, and/or maintain prices for television

advertising, thereby increasing advertising prices relative to the but-for world in which Defendants

competed on price.

       76.     As alleged herein, Defendants’ collusion had the following effects on the U.S.

market for the sale of television advertising and proximately caused injury to Plaintiff and

members of the Class in the following ways, inter alia:

       a.      Defendants’ unlawful anticompetitive conduct restrained price competition in the

               market for the sale of television advertising in the United States;

       b.      Purchasers of television advertising from one or more Defendants or their co-

               conspirators in the United States—including Plaintiff and members of the Class—

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               paid fixed, maintained, stabilized, and/or artificially inflated prices for television

               advertising that were above competitive levels; and

       c.      Purchasers of television advertising from one or more Defendants or their co-

               conspirators in the United States—including Plaintiff and members of the Class—

               have been deprived of the benefit of free and open competition on the basis of price

               in the market for the sale of television advertising.

       77.     Absent Defendants’ and their co-conspirators’ collusion, those purchasing

television advertising would have transacted at competitive prices and reaped the benefits of

competition.

       78.     As a direct, intended, foreseeable, and proximate result of Defendants’ unlawful

conspiracy and acts in furtherance of their conspiracy, Plaintiff and members of the Class have

been injured in their business and property, in violation of the federal antitrust laws.

       79.     The injury to Plaintiff and members of the Class is the type the antitrust laws were

designed to prevent and directly flows from Defendants’ unlawful anticompetitive conduct.

       80.     There is no legitimate business justification for, or procompetitive benefits of,

Defendants’ unreasonable restraint of trade.

       81.     Defendants are jointly and severally liable for the acts of their co-conspirators.

                          EFFECT ON INTERSTATE COMMERCE

       82.     Billions of dollars of transactions in television advertisements are entered into each

year in interstate commerce in the United States.

       83.     Defendants’ manipulation of the market for the sale of television advertising had a

direct, substantial, and foreseeable impact on interstate commerce in the United States.




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        84.     Defendants intentionally targeted their unlawful conduct to affect commerce,

including interstate commerce within the United States, by combining, conspiring, and/or agreeing

to fix, maintain, stabilize, and/or artificially inflate prices for television advertising.

        85.     Defendants’ unlawful conduct has a direct and adverse impact on competition in

the United States. Absent Defendants’ combination, conspiracy, and/or agreement to manipulate

the market for the sale of television advertising, the prices of television advertising would be

determined by a competitive, efficient market.

                         FRAUDULENT CONCEALMENT AND
                      TOLLING OF THE STATUTE OF LIMITATIONS

        86.     Any applicable statute of limitations has been tolled by Defendants’ knowing and

active concealment of the conspiracy and conduct alleged herein. Through no fault or lack of

diligence, Plaintiff and members of the Class were deceived and had no knowledge regarding

Defendants’ collusion to fix, maintain, stabilize, and/or artificially inflate prices in the market for

the sale of television advertising and could not reasonably discover the collusion.

        87.     The very nature of Defendants’ conspiracy was secret and self-concealing.

Defendants engaged in market manipulation that could not be detected by Plaintiff and members

of the Class.

        88.     Plaintiff and members of the Class had no facts sufficient to place them on inquiry

notice of the conspiracy alleged herein until July 26, 2018, when The Wall Street Journal published

an article reporting that the DOJ was investigating collusion between Defendants and their co-

conspirators to inflate prices in the market for the sale of television advertising.42




42
        See Wall Street Journal Article.
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        89.     As alleged herein, Defendants’ collusion to fix prices in the market for the sale of

television advertising was material to Plaintiff and members of the Class at all relevant times.

Within the time period of any applicable statute of limitations, Plaintiff and members of the Class

could not have discovered through the exercise of reasonable diligence that Defendants and their

co-conspirators were colluding to fix, maintain, stabilize, and/or artificially inflate prices for

television advertising, which Defendants fraudulently concealed.

        90.     Plaintiff and members of the Class did not discover and did not know of any facts

that would have caused a reasonable person to suspect that Defendants and their co-conspirators

were colluding to fix, maintain, stabilize, and/or artificially inflate prices for television advertising.

        91.     Defendants knowingly, actively, and affirmatively concealed the facts alleged

herein, including their collusion to fix, maintain, stabilize, and/or artificially inflate prices in the

market for the sale of television advertising.

        92.     Plaintiff and Class members reasonably relied on Defendants’ knowing, active, and

affirmative concealment.

        93.     For these reasons, all applicable statutes of limitations have been tolled based on

the discovery rule and Defendants’ fraudulent concealment and Defendants are estopped from

relying on any statutes of limitations in defense of this action.

                                      CLASS ALLEGATIONS

        94.     Plaintiff brings this proposed action pursuant to Federal Rules of Civil Procedure

(“Rules”) 23(a) and 23(b)(2), and/or (b)(3) on behalf of itself and as a class action, seeking

injunctive relief and damages on behalf of the following nationwide class of those similarly

situated:




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               All persons, corporations, and other legal entities that purchased
               television advertising from one or more Defendants or their co-
               conspirators in the United States from 2016 forward (the “Class”).

       95.     Excluded from the Class are Defendants and their parents, subsidiaries, and

corporate affiliates, officers, directors, employees, assigns, successors, and co-conspirators, the

court, court staff, Defendants’ counsel, and all respective immediate family members of the

excluded entities described above. Plaintiff reserves the right to revise the definition of the Class

based upon subsequently discovered information and reserves the right to add Sub-Classes where

appropriate.

       96.     The Class is so numerous that individual joinder of all potential members is

impracticable. Plaintiff believes that there are at least thousands of proposed members of the Class

throughout the United States.

       97.     Common questions of law and fact exist as to all members of the Class and

predominate over any issues solely affecting individual members of the Class. The common and

predominating questions of law and fact include, but are not limited to:

       a.      Whether Defendants’ conduct is a per se violation of Section 1 of the Sherman Act,

               15 U.S.C. § 1;

       b.      Whether Defendants unreasonably restrained trade in violation of Section 1 of the

               Sherman Act, 15 U.S.C. § 1;

       c.      Whether Defendants engaged in a price-fixing conspiracy among horizontal

               competitors in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1;

       d.      Whether Defendants engaged in a combination, conspiracy, and/or agreement to

               stifle competition in the market for the sale of television advertising in the United

               States;


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       e.      Whether Defendants engaged in a combination, conspiracy, and/or agreement to

               raise, fix, maintain, stabilize, and/or inflate prices in the market for the sale of

               television advertising in the United States;

       f.      The identity of the participants in the conspiracy;

       g.      The duration of the conspiracy;

       h.      The nature and character of the acts performed by Defendants and their co-

               conspirators in furtherance of the conspiracy;

       i.      Whether the conduct of the Defendants, as alleged herein, caused injury to the

               business or property of Plaintiff and members of the Class;

       j.      Whether the conduct of the Defendants, as alleged herein, reduced price

               competition in the market for the sale of television advertising in the United States

               and caused television advertising to be sold at artificially inflated prices;

       k.      Whether Plaintiff and other members of the Class are entitled to injunctive relief

               and, if so, the nature and extent of such relief;

       l.      Whether equitable relief should be awarded; and

       m.      Whether actual damages, costs, disgorgement, and/or treble damages should be

               awarded.

       98.     Plaintiff’s claims are typical of the claims of other members of the Class because

Plaintiff and all members of the Class share the same injury. As alleged herein, Plaintiff and

members of the Class sustained damages arising out of the same illegal actions and conduct by

Defendants.

       99.     Plaintiff is willing and prepared to serve the Class in a representative capacity with

all of the obligations and duties material thereto. Plaintiff will fairly and adequately protect the

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interests of the Class and has no interests adverse to or in conflict with the interests of the other

members of the Class.

       100.    Plaintiff’s interests are co-extensive with and are not antagonistic to those of absent

Class members. Plaintiff will undertake to represent and protect the interests of absent Class

members and will vigorously prosecute this action.

       101.    Plaintiff has engaged the services of the undersigned counsel.             Counsel is

experienced in complex litigation, will adequately prosecute this action, and will assert and protect

the rights of, and otherwise represent, Plaintiff and absent Class members.

       102.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy. Plaintiff knows of no difficulty to be encountered in the

management of this litigation that would preclude its maintenance as a class action.

       103.    Class action status is warranted under Rule 23(b)(3) because questions of law or

fact common to Class members predominate over any questions affecting only individual Class

members, and a class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

       104.    The Class may also be certified under Rule 23(b)(2) because Defendants have acted

on grounds generally applicable to the Class, thereby making it appropriate to award final

injunctive relief or corresponding declaratory relief with respect to the Class.

       105.    The interest of Class members in individually controlling the prosecution of

separate actions is theoretical and not practical. The Class has a high degree of similarity and is

cohesive, and Plaintiff anticipates no difficulty in the management of this matter as a class action.




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                                    COUNT I
                            VIOLATIONS OF SECTION 1 OF
                      THE SHERMAN ANTITRUST ACT, 15 U.S.C. § 1

        106.    Plaintiff incorporates by reference and re-alleges each preceding paragraph as

though fully set forth herein.

        107.    As alleged herein, Defendants combined, conspired, and agreed to stifle

competition in the market for the sale of television advertising in the United States. Specifically,

Defendants and their co-conspirators colluded to fix, maintain, stabilize, and/or artificially inflate

prices in the market for the sale of television advertising.

        108.    Defendants’ and their co-conspirators’ price-fixing conspiracy alleged herein is a

per se violation of the Sherman Act, 15 U.S.C. § 1. The restraint of trade and anticompetitive

conduct alleged herein directly inflated or maintained prices and restrained competition in the

market for the sale of television advertising in the United States, constituting a per se violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1.

        109.    Defendants’ combination, conspiracy, and/or agreement unreasonably restrained

trade in violation of the federal antitrust laws.

        110.    Alternatively, the anticompetitive combination, conspiracy, and/or agreement

alleged herein resulted in substantial anticompetitive effects in the market for wireless

communication services in the United States in violation of Section 1 of the Sherman Act, 15

U.S.C. § 1.

        111.    Defendants intended to restrain trade and actually restrained trade in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1. Defendants shared a conscious commitment to the

common scheme designed to achieve the unlawful objective of fixing, maintaining, stabilizing,




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and/or artificially inflating television advertising prices and stifling competition in the market for

the sale of television advertising.

       112.    The anticompetitive combination, conspiracy, and/or agreement alleged herein

unreasonably restrained trade, and there is no legitimate business justification for, or

procompetitive benefits of, Defendants’ unreasonable restraint of trade.               Any alleged

procompetitive benefit or business justification is pretextual and/or could have been achieved

through less restrictive means.

       113.    The anticompetitive combination, conspiracy, and/or agreement alleged herein

occurred within the flow of and substantially affected interstate commerce.

       114.    As a direct and proximate result of Defendants’ anticompetitive scheme and

concrete acts in furtherance of that scheme, Plaintiff and members of the Class have been injured

in their business and property by reason of Defendants’ violation of Section 1 of the Sherman Act,

15 U.S.C. § 1, within the meaning of Section 4 of the Clayton Act, 15 U.S.C. § 15.

       115.    Plaintiff’s and Class members’ injuries are of the type the antitrust laws were

designed to prevent and are a direct result of Defendants’ unlawful anticompetitive conduct.

       116.    Pursuant to Section 4 of the Clayton Act, 15 U.S.C. § 15, Plaintiff and Class

members are entitled to treble damages, costs, and attorneys’ fees for the violations of the Sherman

Act alleged herein.

                                  COUNT II
              INJUNCTIVE RELIEF FOR VIOLATIONS OF SECTION 1 OF
                   THE SHERMAN ANTITRUST ACT, 15 U.S.C. § 1

       117.    Plaintiff incorporates by reference and re-alleges each preceding paragraph as

though fully set forth herein.




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         118.   Plaintiff asserts this count on behalf of itself and the members of the nationwide

Class.

         119.   As alleged herein, Defendants and their co-conspirators combined, conspired, and

agreed to stifle competition and fix, maintain, stabilize, and/or artificially inflate prices in the

market for the sale of television advertising in the United States. This combination, conspiracy,

and/or agreement unreasonably restrained trade in violation of the federal antitrust laws.

         120.   Specifically, the anticompetitive combination, conspiracy, and/or agreement

alleged herein is a per se violation of Section 1 of the Sherman Act, 15 U.S.C. § 1. Alternatively,

the anticompetitive combination, conspiracy, and/or agreement alleged herein resulted in

substantial anticompetitive effects in the market for the sale of television advertising in the United

States in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

         121.   Defendants intended to restrain trade and actually restrained trade in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1. Defendants shared a conscious commitment to the

common scheme designed to achieve the unlawful objective of fixing, maintaining, stabilizing

and/or artificially inflating television advertising prices and stifling competition in the market for

the sale of television advertising.

         122.   The anticompetitive combination, conspiracy, and/or agreement alleged herein

unreasonably restrained trade, and there is no legitimate business justification for, or

procompetitive benefits of, Defendants’ unreasonable restraint of trade.               Any alleged

procompetitive benefit or business justification is pretextual and/or could have been achieved

through less restrictive means.

         123.   The anticompetitive combination, conspiracy, and/or agreement alleged herein

occurred within the flow of and substantially affected interstate commerce.

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       124.    As a direct and proximate result of Defendants’ anticompetitive scheme and

concrete acts in furtherance of that scheme, Plaintiff and members of the Class have been injured

and will continue to be injured in their business and property by reason of Defendants’ violation

of Section 1 of the Sherman Act, 15 U.S.C. § 1, and are entitled to injunctive relief, costs, and

attorneys’ fees pursuant to the Clayton Act, 15 U.S.C. § 26.

       125.    Unless enjoined, Defendants’ anticompetitive combination, conspiracy, and/or

agreement will continue.

       126.    Plaintiff’s and the Class members’ injuries are of the type the antitrust laws were

designed to prevent and are a direct result of Defendants’ unlawful anticompetitive conduct.

       127.    Plaintiff and members of the Class seek an injunction against Defendants,

preventing and restraining the Sherman Act violations alleged herein, costs, and attorneys’ fees.

See 15 U.S.C. § 26.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of itself and all others similarly situated, respectfully

requests that this Court enter judgment against Defendants and in favor of Plaintiff and the Class,

and award the following relief:

       a.      certify this lawsuit as a class action pursuant to Rule 23 of the Federal Rules of

               Civil Procedure, declaring Plaintiff as the representative of the Class and Plaintiff’s

               counsel as counsel for the Class;

       b.      declare Defendants’ conduct alleged herein violates Section 1 of the Sherman Act,

               15 U.S.C. § 1;

       c.      permanently enjoin and restrain Defendants, their affiliates, successors, transferees,

               assignees and other officers, directors, agents and employees thereof, and all other


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                persons acting or claiming to act on their behalf, from in any manner continuing,

                maintaining or renewing the conduct, contract, conspiracy, or combination alleged

                herein, or from entering into any other contract, conspiracy, or combination having

                a similar purpose or effect, and from adopting or following any practice, plan,

                program, or device having a similar purpose or effect;

        d.      find Defendants jointly and severally liable for the acts of their co-conspirators and

                for the damages incurred by Plaintiff and the Class;

        e.      award actual damages, costs, disgorgement, and/or treble damages under applicable

                law;

        f.      award Plaintiff and members of the Class damages against Defendants for their

                violations of federal antitrust laws, in an amount to be trebled under Section 4 of

                the Clayton Antitrust Act, 15 U.S.C. § 15 (a);

        g.      require Defendants to pay both pre- and post-judgment interest on any amounts

                awarded;

        h.      award Plaintiff costs of suit, including reasonable attorneys’ fees and expenses,

                including expert fees, as provided by law; and

        i.      direct any such further relief that the Court may deem just and proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

trial by jury on all issues so triable.

Dated: July 27, 2018

                                             /s/ Asher Alavi
                                             Asher Alavi
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                                             Kimberly A. Justice (pro hac vice forthcoming)
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